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11

12                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13
                                                 )   Case No. 5:20-cv-01126-JGB-SHK
14      DANIELLE GAMINO,                         )
                                                 )   DEFENDANT ALERUS
15                  Plaintiff,                   )   FINANCIAL, N.A.’S
                                                 )   MEMORANDUM OF POINTS
16            v.                                 )   AND AUTHORITIES IN
                                                 )   SUPPORT OF MOTION TO
17      KPC Healthcare Holdings, Inc., et al.,   )   DISMISS
                                                 )
18                  Defendants.                  )   Date: November 2, 2020
                                                 )   Time: 9:00 a.m.
19                                               )   Judge: Hon. Jesus G. Bernal
                                                 )   Courtroom: Riverside, Courtroom 1
20                                               )
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2              Plaintiff Danielle Gamino brings this lawsuit against KPC Healthcare
 3      Holdings, Inc., certain of its board members, and Alerus Financial, N.A. (“Alerus”)
 4      on the theory that they all engaged in a prohibited transaction and breached their
 5      fiduciary duties under the Employee Retirement Income Security Act of 1974, as
 6      amended (“ERISA”), in connection with the formation of the KPC Healthcare, Inc.
 7      Employee Stock Ownership Plan (“the Plan” or “the ESOP”). Plaintiff’s
 8      complaint turns on her conclusory assertion that the Plan paid more than fair
 9      market value to acquire 100 percent of the outstanding shares of the Plan sponsor,
10      KPC Healthcare, Inc. (“KPC”). This conclusion, however, is built upon generic
11      factual allegations that do not plausibly suggest the Plan overpaid and that reflect a
12      fundamental misunderstanding of leveraged employee stock ownership plan
13      transactions. Plaintiff’s transaction-related challenges fail to state a viable cause of
14      action and should be dismissed.1
15                                                      BACKGROUND
16              Legal Background
17              An employee stock ownership plan, or ESOP, is a type of defined
18      contribution pension benefit plan “designed to invest primarily in the common
19      stock of the company.” In re Syncor ERISA Litig., 351 F. Supp. 2d 970, 974 (C.D.
20      Cal. 2004). Employers are under no obligation to provide their employees with
21      retirement plans of any sort, let alone ESOPs. See Howard Pianko, ERISA
22      Fiduciary Duties: Overview, Practical Law Practice Note (May 14, 2018)
23      (“ERISA does not require employers to establish an employee benefit plan.”). Yet
24      Congress saw fit to offer certain tax benefits to encourage companies to establish
25      ESOPs for their employees. See, e.g., Fifth Third Bancorp v. Dudenhoeffer, 573
26
        1
         This motion addresses only those claims made against Alerus in connection with the Plan’s formation (Counts I
27
        and III).
28                                                              1
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 1      U.S. 409, 416 (2014) (describing Congress’s interest in encouraging ESOPs).
 2      Congress believed that facilitating employee ownership of corporations would
 3      align the interests of employees and employers, to the benefit of both. In re Syncor
 4      ERISA Litig., 351 F. Supp. 2d at 979 (“The purpose behind ESOP’s is to increase
 5      employee ownership interest in companies.”); Staff of the S. Comm. on Fin., 95th
 6      Cong., ESOPs and TRASOPs: An Explanation for Employees 10 (Comm. Print
 7      1978) (“ESOPs and TRASOPs”) (stating that ESOPs benefited employees by
 8      providing them with a stake in the profits that they helped generate for their
 9      employers).
10            Because a newly-established ESOP has no assets of its own with which to
11      purchase shares in the company, ESOPs are permitted to borrow in order to invest
12      in the employer’s stock. ESOPs and TRASOPs at 10 (describing how an ESOP
13      may borrow funds to acquire company stock). In a typical arrangement, the
14      employer or other selling shareholder(s) loans the ESOP the money to purchase
15      stock of the company. See Donovan v. Cunningham, 716 F.2d 1455, 1459 (5th
16      Cir. 1983) (describing the mechanics of a typical ESOP transaction). Of course,
17      the ESOP debt is no burden to the plan participants themselves, as they are not
18      personally liable for it. Rather, it is the company that ultimately bears the debt
19      burden, because it makes periodic contributions to the ESOP sufficient to allow the
20      ESOP to repay the debt obligation. Id. As these contributions are made and the
21      debt is gradually retired, shares of stock are released from the encumbrance of the
22      debt and allocated to the ESOP participants’ accounts, where the value may rise
23      and fall as it would for any shareholder. See generally id.
24            2015 Transaction
25            In 2015, KPC established the KPC Healthcare, Inc. Employee Stock
26      Ownership Plan. In connection with the establishment of the Plan, KPC entered
27      into an agreement with Alerus under which Alerus was engaged to act as an
28                                                2
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 1      Independent Trustee for purposes of the transaction. As the Independent Trustee,
 2      Alerus would represent the Plan in connection with its proposed acquisition of 100
 3      percent of the outstanding shares of KPC. On August 28, 2015, the newly formed
 4      Plan acquired 100 percent of the outstanding shares of KPC for an aggregate
 5      purchase price of $227 million, which was financed through a $217 million loan
 6      from KPC and a $10 million cash contribution from KPC. Compl. ¶ 64.
 7            Five years later, Plaintiff filed the instant complaint.
 8                                      STANDARD OF REVIEW
 9            To survive a motion to dismiss under Federal Rule of Civil Procedure
10      12(b)(6), Plaintiff must plead “a claim to relief that is plausible on its face.” Bell
11      Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). As the Supreme Court explained
12      “[a] claim has facial plausibility [only] when the plaintiff pleads factual content
13      that allows the court to draw the reasonable inference that the defendant is liable
14      for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
15      “Threadbare recitals of the elements of a cause of action, supported by mere
16      conclusory statements, do not suffice.” Ashcroft, 556 U.S. at 678. As explained
17      below, Plaintiff’s challenges to the 2015 Transaction must be dismissed because
18      they have failed to satisfy these minimum pleading requirements.
19                                             ARGUMENT
20            Count I alleges Alerus caused the Plan to engaged in a transaction prohibited
21      by ERISA section 406(a)(1), 29 U.S.C. § 1106, “by failing to ensure that the ESOP
22      paid no more than fair market value for KPC Healthcare stock purchased in the
23      2015 Transaction.” Compl. ¶ 100. Count III alleges Alerus breached fiduciary
24      duties imposed by section 404(a) of ERISA, 29 U.S.C. § 1104, by failing to
25      “undertake an appropriate and independent investigation of the fair market value of
26      KPC Healthcare stock in the 2015 Transaction.” Compl. ¶ 113. These counts
27      overlap. Both rest on the same, conclusory premise—that the Plan “overpaid” for
28                                                 3
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 1      KPC stock in the 2015 Transaction. The Complaint, however, does not plausibly
 2      support Plaintiff’s theory, and both counts should be dismissed.
 3            To satisfy ERISA’s fiduciary obligations, a plan fiduciary must act with the
 4      “care, skill, prudence, and diligence” of a “prudent man” acting under like
 5      circumstances and “for the exclusive purpose of providing benefits to plan
 6      beneficiaries.” 29 U.S.C. § 1104(a). In the context of an ESOP transaction, a plan
 7      fiduciary must also adhere to ERISA’s prohibited transaction rules. Those
 8      provisions provide that “[a] fiduciary with respect to a plan shall not cause the plan
 9      to engage in a transaction, if he knows or should know that such transaction
10      constitutes a direct or indirect—(A) sale or exchange, or leasing, of any property
11      between the plan and a party in interest[] . . . [or] (D) transfer to, or use by or for
12      the benefit of a party in interest, of any assets of the plan.” 29 U.S.C. § 1106(a)(1).
13      On their face, ERISA’s broad prohibited transaction rules would encompass any
14      ESOP transaction, because the plan is transacting with the plan sponsor or its
15      shareholders, both parties in interest. Recognizing that such a prohibition would
16      hamper the creation of ESOPs, Congress included a set of exemptions to work in
17      tandem with these rules. See Henry v. Champlain Enters., Inc., 445 F.3d 610, 618
18      (2d Cir. 2006). Under ERISA section 408(e), a plan may purchase employer
19      securities so long as it does so for no more than “adequate consideration.” 29
20      U.S.C. § 1108(e)(1). “Adequate consideration” in the context of closely-held
21      corporations means “the fair market value of the asset as determined in good faith
22      by the trustee or named fiduciary.” Henry, 445 F.3d at 618 (citing 29 U.S.C. §
23      1002(18)(b)).
24            In the ESOP transaction context, the fiduciary obligations of section 1104
25      overlap with the adequate consideration exemption of section 1108—under either
26      section, the fiduciary’s process is tantamount. See Donovan, 716 F.2d at 1467
27      (“[T]he adequate consideration test, like the prudent man rule, is expressly focused
28                                                  4
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 1      upon the conduct of the fiduciaries.”). Indeed, adequate consideration is
 2      determined not by focusing on the dollar amount paid, but instead on the process
 3      the fiduciary applied when determining the value to be paid. See Henry, 445 F.3d
 4      at 619 (“[T]he adequate consideration test focuses on the conduct of the fiduciaries
 5      in determining the price, not the price itself.”); Perez v. Commodity Control Corp.,
 6      1:16-cv-20245, 2017 WL 1293619, *9-10 (S.D. Fla. Mar. 7, 2017) (“[T]he good
 7      faith requirement ‘must be read in light of the overriding duties of Section 404 . . .
 8      ESOP fiduciaries will carry their burden to prove that adequate consideration was
 9      paid by showing that they . . . [engaged in] a prudent investigation . . . . In other
10      words, fiduciaries must show that they satisfied their fiduciary duties . . . .”)
11      (quoting Donovan, 716 F.2d at 1467-68)).
12            To determine whether no more than adequate consideration was paid for a
13      company’s shares, the ESOP fiduciary must determine the range of fair market
14      value of the stock to be acquired. For companies with publicly traded stock, this
15      determination is often simple—a fiduciary may rely on the market price, with
16      certain limited exceptions. See Fifth Third Bancorp, 573 U.S. at 426. Appraisal of
17      privately held stock, on the other hand, is a “very inexact science.” Donovan, 716
18      F.2d at 1473. Because of the “uncertainty inherent in the process and the variety of
19      potential fact patterns,” ESOP fiduciaries, when dealing with privately held
20      companies, rely upon the expertise of others to determine whether no more than
21      adequate consideration is to be paid. Donovan, 716 F.2d at 1473. While reliance
22      on a qualified appraiser alone does not guarantee that an ESOP fiduciary
23      discharged its obligations under ERISA, fiduciaries may point to an appraiser’s
24      guidance as evidence of a good faith investigation. See Bussian v. RJR Nabisco,
25      Inc., 223 F.3d 286, 300-01 (5th Cir. 2000). ESOP fiduciaries establish adequate
26      consideration based on a determination of fair market value by way of a prudent
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 1   investigation under “the circumstances then prevailing,” 29 U.S.C. § 1104
 2   (emphasis added), not with the benefit of hindsight.
 3         Although some courts have held plaintiffs generally are not required to plead
 4   around section 408’s “adequate consideration” exemption, “a court may
 5   nonetheless dismiss a cause of action under § 1106 where the affirmative defense
 6   of adequate consideration ‘is clearly indicated and appears on the face of the
 7   pleading.’” Zavala v. Kruse-Western, Inc., 398 F. Supp. 3d 731, 742 (E.D. Cal.
 8   2019) (quoting Harris v. Amgen, 788 F.3d 916, 943 (9th Cir. 2015), rev’d on other
 9   grounds, 136 S. Ct. 758 (2016)). Such is the case here.
10         The alleged failure “to ensure that the ESOP paid no more than fair market
11   value” stands at the core of Plaintiff’s prohibited transaction claim. Compl. ¶ 100
12   (“Alerus caused the Plan to engaged in a prohibited transaction… by failing to
13   ensure that the ESOP paid no more than fair market value.”) (emphasis
14   added). It forms the entire basis of her lawsuit. Compl. ¶ 32 (“Plaintiff and all
15   Class members have been harmed by the ESOP paying more than fair market
16   value for KPC Healthcare stock in the 2015 Transaction.”) (emphasis added); id.
17   ¶¶ 3, 23, 74, 75, 77, 114, 154 (alleging the Plan paid more than fair market value).
18   Thus, she is required to put forth plausible allegations supporting her claim that the
19   2015 Transaction was for “more than adequate consideration.” While Plaintiff has
20   made conclusory allegations that the Plan paid more than fair market value, she has
21   offered no plausible facts to support her conclusion.
22         The Complaint fails to plausibly allege Alerus’s process for reviewing the
23   2015 Transaction and determining adequate consideration was flawed or that
24   Alerus caused the Plan to overpay. Indeed, the Complaint is silent as to the
25   process Alerus used to value or approve the sale of KPC stock. Plaintiff offers no
26   information concerning Alerus’s due diligence process whatsoever, much less
27   factual allegations from which this Court could infer it was deficient in some
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 1   respect. Rather, Plaintiff simply asserts “based on the information available, the
 2   purchase price for the 2015 Transaction was based in part on a valuation report that
 3   was unreliable.” Compl. ¶ 74. Declaring in conclusory fashion that the Plan
 4   overpaid, she speculates Alerus’s process must have been flawed because “an
 5   appropriate investigation would have revealed the valuations used for and the price
 6   paid by the ESOP in the 2015 Transaction did not reflect the fair market value.”
 7   Compl. ¶ 114. Yet, there are no allegations to support how any valuation was
 8   “unreliable” or why an “appropriate” investigation would have revealed the Plan
 9   overpaid, much less that the investigation was faulty in the first instance.
10   Ironically, Plaintiff complains elsewhere that she has never seen the valuation
11   report, making clear that her assumption about its lack of reliability is simply the
12   product of guesswork and not grounded in fact. Compl. ¶ 76.
13         Lack of process-related allegations aside, Plaintiff also fails to offer facts
14   plausibly suggesting that the Plan overpaid for the stock. On this point, Plaintiff
15   relies principally on the allegedly “precipitous” decline in “the value of the
16   ESOP’s KPC Healthcare stock.” Compl. ¶ 68. Plaintiff claims that, whereas the
17   2015 Transaction purchase price was $227 million on August 28, 2015 (the date of
18   the transaction), the ESOP’s shares decreased to $27 million three days later and
19   have remained “far below” the purchase price ever since. Compl. ¶¶ 64, 70-72.
20   From this decline, Plaintiff attempts to draw an inference that KPC was necessarily
21   overvalued at the time of the 2015 Transaction. Plaintiff, however, fails to
22   comprehend the economic reality of a leveraged ESOP transaction.
23         Specifically, Plaintiff’s concern about the decline in equity value following
24   the transaction fails to account for the debt the ESOP took on at its formation in
25   order to finance the transaction. Plaintiff’s error can be illustrated by the example
26   of a home buyer who takes out a mortgage to purchase a house. Assume the fair
27   market value of the house is $100,000. If the buyer puts $20,000 in cash toward
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 1   the purchase price and borrows $80,000 to finance the remainder of the purchase,
 2   the buyer’s equity in the house is $20,000—but the house is still valued at
 3   $100,000. Each month after the purchase, the buyer pays down the principal on
 4   the mortgage loan, and her equity in the house increases proportionately.
 5         Similar logic applies to ESOPs that purchase company equity through debt
 6   financing. See Lee v. Argent Trust Co., 5:19-cv-156, 2019 WL 3729721, *3
 7   (E.D.N.C. Aug. 7, 2019) (noting that, in the context of a leveraged ESOP
 8   transaction, “it is better to conceive of this transaction, as defendants have argued,
 9   as being comparable to the purchase of a mortgage-financed house”). Here, for
10   example, Plaintiff alleges that the equity value decreased from $227 million on
11   August 28, 2015 (the closing date) to $27 million only three days later. Compl. ¶
12   68. What this allegation ignores is that the 2015 Transaction was financed, in part,
13   through debt. Plaintiff acknowledges as much elsewhere. Compl. ¶ 64 (“To
14   finance the purchase, the Plan entered into a $217,107,262 term loan agreement
15   with KPC Healthcare. The remaining $10,000,000 was paid by a contribution of
16   cash from KPC Healthcare to the Plan.”). That is, all Plaintiff has alleged is that
17   (unsurprisingly) debt can impact equity value. That is not enough to maintain her
18   claim. See Lee, 2019 WL 3729721 (dismissing similar challenge to ESOP
19   transaction).
20         Of course, there is one significant difference between Plaintiff and the
21   example of a homebuyer—it is the company that indirectly pays down the debt,
22   through cash contributions to the plan to cover the debt service, not the plan
23   participants themselves. See Donovan, 716 F.2d at 1459 (“Unlike other ERISA-
24   covered plans, an ESOP may also borrow in order to invest in the employer’s
25   stock. In that event, the employer’s cash contributions to the ESOP would be used
26   to retire the debt.”). The participants enjoy the benefit of this transaction through
27   the allocation of company stock to their accounts, all with no actual investment of
28                                              8
     Case 5:20-cv-01126-JGB-SHK Document 43-1 Filed 09/03/20 Page 13 of 16 Page ID
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 1   their own funds. In this respect, an ESOP participant’s situation is more equivalent
 2   to a homebuyer whose parents incurred the debt and bought the home for her, as
 3   the participant neither contributed anything to the purchase of the stock nor
 4   incurred any personal obligation to repay the debt that allowed her to obtain the
 5   shares.
 6            Just as Plaintiff’s reliance on KPC’s post-transaction value is misplaced, so
 7   too is her citation to the supposed value of a predecessor company years earlier.
 8   Compl. ¶ 65 (comparing the 2015 Transaction purchase price to “the price implied
 9   by Defendant Kali Pradip Chaudhuri’s 2013 proposed and presumed price to
10   acquire” a predecessor company known as “Integrated Health”). Although
11   Plaintiff again hopes this Court will infer KPC was necessarily overvalued, there
12   are no factual allegations to support that inference. The Complaint alleges
13   virtually nothing about Integrated Health’s business as compared to KPC and
14   nothing about the market conditions existing at two different points in time. Even
15   assuming Plaintiff’s implied price calculations are correct, all she has done is
16   allege that KPC was valued more in 2015 than a predecessor company, Integrated
17   Health, was years earlier. That does not plausibly suggest the 2015 Transaction
18   was flawed.
19            Unable to point to any specific facts to support her claim that the Plan
20   overpaid, Plaintiff resorts to irrelevant accusations in an apparent effort to cast
21   aspersions on the 2015 Transaction and the parties involved. For instance, she
22   cites to the alleged bankruptcy of an unrelated company and its financial
23   difficulties; criminal acts of a non-party with no connection to the ESOP or the
24   2015 Transaction; and irrelevant public criticism. Compl. ¶¶ 37-42. These
25   allegations are unrelated to the ESOP and do not plausibly support the allegation
26   that the Plan paid more than fair market value in the 2015 Transaction.2
27   2
      Plaintiff’s additional claim that Alerus breached fiduciary duties by “failing to correct the 2015 Transaction”,
     Compl. ¶ 116, is likewise flawed. Plaintiff relies on her allegations of a post-transaction “decline in value” and “red
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 1           In short, Plaintiff does not plausibly allege that Alerus’s process for
 2   approving the 2015 Transaction was flawed, so her transaction-related claims must
 3   fail.
 4                                                     CONCLUSION
 5           For the foregoing reasons, the Court should dismiss Counts I and III against
 6   Alerus with prejudice.
 7

 8    Dated: September 3, 2020                                 /s/ Andrew J. Waxler
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19                                                             ALERUS FINANCIAL, N.A.
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24   flags.” See Compl ¶ 77 (“[T]he decline in value of the KPC Healthcare stock owned by the ESOP following the
     2015 Transaction should have caused Alerus as well as the ESOP Committee (which consisted of all of the Director
25   Defendants), at a minimum, to investigate whether the ESOP had paid more than fair market value in the 2015
     Transaction.”). As explained above, those allegations are insufficient. Plaintiff simply fails to comprehend the
26   economic realities of a leveraged ESOP transaction, leaving her with zero grounds on which to assert her breach of
     fiduciary duty claim.
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  1                                 PROOF OF SERVICE
  2 STATE OF CALIFORNIA     )
      COUNTY OF LOS ANGELES )
  3
            I am employed in Los Angeles County. My business address is 11755
  4 Wilshire Blvd., Suite 2400, Los Angeles, CA 90025, where this mailing occurred. I
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  8 parties in this action entitled as follows:
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             AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
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            be transmitted electronically by posting such document electronically to the
 19         ECF website of the United States District Court for the Central District of
            California, on all ECF-registered parties in the action.
 20
      [   ] (BY FEDEX) I am “readily familiar with the firm’s practice of collection
 21         and processing correspondence for mailing via Express Mail (or another
            method of delivery providing for overnight delivery pursuant to C.C.P. §
 22         1005(b)). Under that practice, it would be deposited with the United States
            Postal Service or other overnight delivery carrier (in this case, FedEx) on that
 23         same day with postage thereon fully prepaid at Los Angeles, California in the
            ordinary course of business.
 24
      [XX] (FEDERAL) I declare that I am employed in the office of a member of the
 25        bar of this court at whose direction the services was made.
 26         Executed on September 3, 2020, at Los Angeles, California.
 27
                                                    /s/ Susan Carty
 28
                                                    Susan Carty
Case 5:20-cv-01126-JGB-SHK Document 43-1 Filed 09/03/20 Page 16 of 16 Page ID
                                  #:192

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             United States District Court Case No. 5:20-cv-01126-JGB-SHK
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